      Case 2:19-cv-05217-SRB Document 139 Filed 02/17/22 Page 1 of 5



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14
                       IN THE UNITED STATES DISTRICT COURT
15
                           FOR THE DISTRICT OF ARIZONA
16
      C.M., on her own behalf and on behalf of her        No. CV-19-05217-PHX-SRB
17    minor child, B.M.; L.G., on her own behalf and
18    on behalf of her minor child, B.G.; M.R., on her    PLAINTIFFS’
      own behalf and on behalf of her minor child,        SUPPLEMENT TO JOINT
19    J.R.; O.A., on her own behalf and on behalf of      STATUS REPORT
      her minor child, L.A.; and V.C., on her own
20
      behalf and on behalf of her minor child, G.A.,
21
                          Plaintiffs,
22
      v.
23
      United States of America,
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25                        Defendant.

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      Case 2:19-cv-05217-SRB Document 139 Filed 02/17/22 Page 2 of 5



 1    A.P.F. on his own behalf and on behalf of his          No. CV-20-00065-PHX-SRB
 2    minor child, O.B.; J.V.S. on his own behalf and
      on behalf of his minor child, H.Y.; J.D.G. on his
 3    own behalf and on behalf of his minor child,
      M.G.; H.P.M. on his own behalf and on behalf of
 4    his minor child, A.D.; M.C.L. on his own behalf
 5    and on behalf of his minor child, A.J.; and R.Z.G.
      on his own behalf and on behalf of his minor
 6    child, B.P.,
 7                         Plaintiffs,
 8
      v.
 9
      United States of America,
10
                           Defendant.
11
12          On February 4, 2022, the parties in C.M. et al. v. U.S. (CV-19-05217) and A.P.F.
13   et al. v. U.S. (CV-20-00065) submitted a Joint Status Report.             Plaintiffs now
14   respectfully submit this Supplement to update the information included in Plaintiffs’
15   position regarding their request for 15 Policy Depositions (including Rule 30(b)(6)
16   Depositions) included in that Joint Status Report.
17          On Friday, February 11, 2022, Defendant supplemented its Mandatory Initial
18   Discovery Responses (MIDP) to include an additional 57 individuals who are likely to
19   have information relevant to the parties’ claims and defenses. Many, if not all, of these
20   additional individuals appear to be government officials with information related to the
21   creation, development, and implementation of policies that resulted in the separation of
22   Plaintiff parents and their children. Further, at least half of these witnesses have never
23   been identified by any party.
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25          Respectfully submitted this 17th day of February, 2022.
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     Case 2:19-cv-05217-SRB Document 139 Filed 02/17/22 Page 3 of 5



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